                           QLS EXHBIT 1




Case 20-04002-MJH   Doc 73-15   Filed 11/13/20   Ent. 11/13/20 21:51:27   Pg. 1 of 29
                       310 2 TDUS/REETA's WA-19-855235-RM.

106.
9/24/2019 File Closed by Jstavee Entered by Jstavee
10:51 AM
          Reason: Sold Third Party
          Close Date: 9/24/2019




107.
9/24/2019 24 hour Final Billing notification     Entered by Jstavee
10:51 AM
          This file was closed on 9/24/2019.

            Please close & bill your file within 24 hours of the closed date.
            Any item that is not added or is added past the 24-hour mark may be
            rejected and not considered for payment.

            Trustee Sale Number: WA-18-835092-SW
            Loan Number:
            Title Order Number: TSG1709-WA-3301634 611169299


            THIS DOCUMENT WAS AUTOMATICALLY GENERATED
            THROUGH QUALITY LOAN SERVICE.. Email Sent To:
            nppaccounting@firstam.com;nppcancels@firstam.com Email Sent To:
            swest@qualityloan.com

108.
9/24/2019 tcf- 3p atty Entered by rebmartinez
11:13 AM
          +17144621146- David w/ Elite Legal Network- client filed bk prior to
          sale, sale went through anyway- calling to have it rescinded- consulted
          with wa reception (Angel) and was adv to contact Sierra- warm xfer to
          Sierra/rolled to vm - brought call back- warm xfer to wa
          reception/Jeffrey

109.
          TCF Attorney David Miller, Elite Legal Network Entered by
9/24/2019
          jstenman
12:46 PM
          714-462-1146 - said he represents an Heir Sarah Hoover in Loss
          Miottigation directly with PHH. Said she filed a Chapter 13 BK case
          number 19-42890 9/9/2019. Said she had notified PHH and PHH advised
          they would notify us. Ran docket and forwarded to BK HUB for review




                                                                                     QWA000022

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110.
9/24/2019 BK Case No 19-42890 Possible Heir Filed BK         Entered by jgoldman
12:57 PM




                                         .




111.
9/25/2019 tcf-3p Entered by rebmartinez
3:51 PM
          +17144621146- 3p- verified prop-calling regarding a recission of sale-
          warm xfer to wa reception/Kristen

112.        TCF David Miller, Elite Legal Network      Entered by koswood



                                                                                    QWA000023

Case 20-04002-MJH       Doc 73-15    Filed 11/13/20    Ent. 11/13/20 21:51:27      Pg. 3 of 29
9/25/2019
3:57 PM
            Calling in and has additional questions regarding property. His client
            filed BK and PHH supposedly said they would notify us and did not do
            it. He asked about if our file was noted. Warm transfer to Robert
            McDonald. 00:00 GARDEN GROVE CA - (714) 462-1146 called ECC
            MH Mandatory Greeting - 5406 00:00 ECC MH Mandatory Greeting -
            5406 transferred call to IVR_09 - 5509 00:23 IVR_09 - 5509 transferred
            call to R      Martinez - 5835 02:01 ECC QLS G05 - WA Reception -
            5305 transferred call to K       Oswood WA - 8056 06:23 K
            Oswood WA - 8056 transferred call to Robert McDonald WA - 2336

113.
10/3/2019 tc-Sarah Hoover Entered by etorres
11:23 AM
          SARAH HOOVER -                        wntd to spk with Rocky direct
          regarding file, she advised had spkn with him in the past. wrm trnsfrd to
          Robert M

114.
11/26/2019 Left VM for Richard Nast        Entered by rmcdonald
10:00 AM


115.
12/3/2019 Mike Lappano CELL           Entered by rmcdonald
5:18 PM


116.
            FC Attorney and Borrower Communication - Servicer Action
1/7/2020
            Entered by Swest
9:02 AM
            Issue: FC Attorney and Borrower Communication - Servicer Action
            Required : Active Issue Description: spacer FC Attorney and Borrower
            Communication - Servicer Action Required. To be used for purposes of
            documenting system after firm has been contacted by the borrower and
            action is required to be taken by the Servicer. (BORATT task) spacer
            Start Date: 1/7/2020 Close Date: n.a. Entered By: Sierra West (at-mholt)
            Closed By: n.a. Reviewed By: n.a. Reviewed: n.a. Projected End:
            1/8/2020 Days Open: 0 Comments: there was a BK filed by the
            borrowerâ€™s heir in which she claimed an interest in the property.
            Here the property sold to a third party purchaser 9.13.19 and they (the
            TPP) are seeking to validate the sale in the BK. PHH needs to provide a
            formal response to the date they were first notified that Ms. Hoover (1)
            claimed an interest in the property and (2) provided notice to PHH that
            she filed a BK.



                                                                                        QWA000024

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Case 20-04002-MJH   Doc 73-15   Filed 11/13/20   Ent. 11/13/20 21:51:27   Pg. 5 of 29
               change based on the specific facts of any given situation.
               The information and opinions set forth herein are
               intended as general information only, and are not
               intended to serve as legal advice or as a substitute for legal
               counsel. If you have a question about a specific factual
               situation, you should contact an attorney directly.

               From: Jeffrey Stenman <jstenman@qualityloan.com>
               Sent: Wednesday, October 23, 2019 12:08 PM
               To: Robert McDonald <rmcdonald@qualityloan.com>
               Subject: FW: Suleiman / WA-18-835092-SW

               Is this sale now good? I see no rescission launched in BKFS. I see
               no response to the client request 9/27/2019 that Kristen sent to
               you. Nothing documented.

               Jeff Stenman
               President
               Quality Loan Service Corporation of Washington

               "Service second to none"

               108 1st Avenue South, Suite 202
               Seattle, WA 98104
               Direct Phone: 206-596-4869
               Fax: 206-257-3163
               Ext. 2927
               jstenman@qualityloan.com

               Your feedback is warmly welcomed and greatly appreciated! Please feel free
               to send us your suggestions, comments, and/or concerns to
               QLSFeedback@qualityloan.com.
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               please reply or call the sender and arrangements will be made to retrieve the originals
               from you at no charge.
               Federal law requires us to advise you that communication with our office could be
               interpreted as an attempt to collect a debt and that any information obtained will be
               used for that purpose.


               From: Lance Olsen
               Sent: Tuesday, September 24, 2019 4:17 PM
               To: Jeffrey Stenman <jstenman@qualityloan.com>;
               Qlsbankruptcyhub <Qlsbankruptcyhub@McCarthyHolthus.com>
               Cc: IDSFC <IDSFC@qualityloan.com>; Robert McDonald
               <rmcdonald@qualityloan.com>
               Subject: RE: Suleiman / WA-18-835092-SW




               Lance E. Olsen | Managing Partner – Northwest                          | Member
               State Bar of Washington, Oregon, Idaho                                                          QWA002605
              McCarthy
Case 20-04002-MJH       Holthus,Filed
                   Doc?73-15      LLP 11/13/20                          Ent. 11/13/20 21:51:27                Pg. 6 of 29
               108 1 st Avenue South, Seattle, WA. 98104
Case 20-04002-MJH   Doc 73-15   Filed 11/13/20   Ent. 11/13/20 21:51:27   Pg. 7 of 29
                office. The legal analysis of any situation depends on a
                variety of factors and the opinions expressed herein could
                change based on the specific facts of any given situation.
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                intended as general information only, and are not
                intended to serve as legal advice or as a substitute for legal
                counsel. If you have a question about a specific factual
                situation, you should contact an attorney directly.

                From: Robert McDonald
                Sent: Wednesday, October 23, 2019 12:21 PM
                To: Jeffrey Stenman <jstenman@qualityloan.com>
                Cc: IDSFC <IDSFC@qualityloan.com>
                Subject: RE: Suleiman / WA-18-835092-SW

                Jeff

                Sale completed and TDUS issued before notice of BK,
                then BK dismissed, third party purchaser aware of
                bankruptcy filing and did not want sale unwound. He
                has been advised to seek confirmation of sale in BK –
                not sure if he did that or not. I will contact him now
                for an update.

                Robert W. McDonald | General Counsel
                "Excellence Starts Here"

                108 1st Avenue South, Suite 202
                Seattle, WA 98104
                d. 206.596.4862 | f. 206.274.4902 | c. 206.673.6523
                rmcdonald@qualityloan.com

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                Please feel free to send us your suggestions, comments,
                and/or concerns to QLSFeedback@qualityloan.com.

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              employed
Case 20-04002-MJH   Docby  QualityFiled
                         73-15     Loan11/13/20
                                        Service Corp.
                                                  Ent.of11/13/20
                                                         Washington,
                                                                 21:51:27            Pg. 8 of 29
             e. cmaus@mccarthyholthus.com


             From: JoAnn Goldman On Behalf Of Qlsbankruptcyhub
             Sent: Thursday, October 3, 2019 2:15 PM
             To: Sierra West <Swest@qualityloan.com>; Chelsea Maus
             <cmaus@McCarthyHolthus.com>
             Cc: Rodica M. Cirstioc <rcirstioc@qualityloan.com>
             Subject: RE:        5107 Non-Judicial / Surplus WA-18-835092-SW

             I still don't have any information on this-

             Chelsea – can you pull BK docs from I Desk?

             From: Sierra West
             Sent: Tuesday, October 1, 2019 11:57 AM
             To: Qlsbankruptcyhub
             <Qlsbankruptcyhub@McCarthyHolthus.com>
             Cc: Rodica M. Cirstioc <rcirstioc@qualityloan.com>
             Subject: RE:        5107 Non-Judicial / Surplus WA-18-835092-SW

             Can you pull the BK documents from i-desk.

             Ms hoover and attorney Ken Howard with legal network indicate
             bankruptcy filed 4 days prior to foreclosure sale. Please see
             bankruptcy doc in iDesk.
             They request the foreclosure sale of 13Sep be rescinded. I
             advised I entered bankruptcy in the account and ask them to call
             back Monday.

             Thank you,

             Melvin boskett

             Sierra Herbert-West | Trustee Sales Officer
             "Excellence Starts Here"
             108 1st Avenue South, Suite 202
             Seattle, WA 98104
             d. 206-596-4851| f. 206.257.3163
             swest@qualityloan.com

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             from you at no charge.
             Federal law requires us to advise you that communication with our office could be
             interpreted as an attempt to collect a debt and that any information obtained will be
             used for that purpose.


             From: JoAnn Goldman On Behalf Of Qlsbankruptcyhub
             Sent: Tuesday, October 1, 2019 10:33 AM
             To: Sierra West <Swest@qualityloan.com>
             Subject: RE:       5107 Non-Judicial / Surplus WA-18-835092-SW

             What BK are they asking about?                                                                  QWA002619

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             From: Sierra West
Case 20-04002-MJH   Doc 73-15   Filed 11/13/20   Ent. 11/13/20 21:51:27   Pg. 10 of 29
              From: Shinde, Siddharth V
              Sent: Friday, September 27, 2019 4:49 PM
              To: 'landerson@mccarthyholthus.com'
              <landerson@mccarthyholthus.com>;
              'swtsounit@qualityloan.com' <swtsounit@qualityloan.com>;
              'crodriguez@mccarthyholthus.com'
              <crodriguez@mccarthyholthus.com>; 'shurley@qualityloan.com'
              <shurley@qualityloan.com>; 'jsmith@qualityloan.com'
              <jsmith@qualityloan.com>; 'WAsale@mccarthyholthus.com'
              <WAsale@mccarthyholthus.com>
              Cc: Robertson, Shelly (MBS)
              <shelly.robertson@mortgagefamily.com>; Joyce, Ronald (MBS)
              <ronald.joyce@mortgagefamily.com>; Boskett, Melvin (MBS)
              <melvin.boskett@mortgagefamily.com>; DLD HAMP
              <DLDHAMP@mortgagefamily.com>; Laskar, Imdad A
              <Imdad.Laskar@ocwen.com>; Vaghela, Abhisekh P
              <Abhisekh.Vaghela@ocwen.com>; Gireesh, Praveen
              <Praveen.Gireesh@ocwen.com>; Siler, Cariese (MBS)
              <cariese.siler@mortgagefamily.com>; Mangaokar, Hemant H
              <Hemant.Mangaokar@ocwen.com>; Brophy, Katie
              <katie.brophy@ocwen.com>
              Subject: RE:       5107
              Importance: High

              Hello,

              Please confirm if the FC sale stands valid or is invalid due to BK.


              Regards,
              Siddharth Shinde | Associate| Foreclosure Deed
              Ocwen Financial Solutions Private Limited
              ( 561-682-7000-67313 * Siddharth.shinde@ocwen.com
              Any foreclosure (Deed) related escalations please contact my supervisor Imdad
              Laskar- Imdad.Laskar@ocwen.com


              From: Vaghela, Abhisekh P
              Sent: Friday, September 27, 2019 4:35 PM
              To: Gireesh, Praveen <Praveen.Gireesh@ocwen.com>; Siler,
              Cariese (MBS) <cariese.siler@mortgagefamily.com>; Mangaokar,
              Hemant H <Hemant.Mangaokar@ocwen.com>; Brophy, Katie
              <katie.brophy@ocwen.com>; Shinde, Siddharth V
              <Siddharth.Shinde@ocwen.com>
              Cc: Robertson, Shelly (MBS)
              <shelly.robertson@mortgagefamily.com>; Joyce, Ronald (MBS)
              <ronald.joyce@mortgagefamily.com>; Boskett, Melvin (MBS)
              <melvin.boskett@mortgagefamily.com>; DLD HAMP
              <DLDHAMP@mortgagefamily.com>; Laskar, Imdad A
              <Imdad.Laskar@ocwen.com>
              Subject: RE:       5107

              Siddharth –
              Kindly review for the sale validity with the firm and provide the response
              ASAP.

              Abhisekh Vaghela
              Team Lead, Foreclosure
                                                                                                QWA002621
              Ocwen Financial Corporation
Case 20-04002-MJH      Doc 73-15       Filed 11/13/20          Ent. 11/13/20 21:51:27         Pg. 11 of 29
              T: 561-682-7000- Ext#67776
                  Abhisekh.vaghela@ocwen.com

                  From: Gireesh, Praveen
                  Sent: Thursday, September 26, 2019 8:36 PM
                  To: Siler, Cariese (MBS) <cariese.siler@mortgagefamily.com>;
                  Mangaokar, Hemant H <Hemant.Mangaokar@ocwen.com>;
                  Brophy, Katie <katie.brophy@ocwen.com>; Vaghela, Abhisekh P
                  <Abhisekh.Vaghela@ocwen.com>
                  Cc: Robertson, Shelly (MBS)
                  <shelly.robertson@mortgagefamily.com>; Joyce, Ronald (MBS)
                  <ronald.joyce@mortgagefamily.com>; Boskett, Melvin (MBS)
                  <melvin.boskett@mortgagefamily.com>; DLD HAMP
                  <DLDHAMP@mortgagefamily.com>
                  Subject: RE:         5107

                  AB
                  Please review with FC firm to determine if the FC sale was invalid
                  due to BK.

                  From: Siler, Cariese (MBS) <Cariese.Siler@mortgagefamily.com>
                  Sent: Thursday, September 26, 2019 8:34 PM
                  To: Gireesh, Praveen <Praveen.Gireesh@ocwen.com>;
                  Mangaokar, Hemant H <Hemant.Mangaokar@ocwen.com>;
                  Brophy, Katie <katie.brophy@ocwen.com>
                  Cc: Robertson, Shelly (MBS)
                  <shelly.robertson@mortgagefamily.com>; Joyce, Ronald (MBS)
                  <ronald.joyce@mortgagefamily.com>; Boskett, Melvin (MBS)
                  <melvin.boskett@mortgagefamily.com>; DLD HAMP
                  <DLDHAMP@mortgagefamily.com>
                  Subject: RE:        5107
                  Importance: High

                  Good morning

                  The BNK workstation is not active and DLD hamp does not handle
                  this process, for BNK or rescinding sales. Let me loop in some
                  team players that could assist to see if BNK was actually filed and
                  they can provide you with the information needed.

                  Praveen , Hemant, Katie,

                  Can you please see below and assist or advise who would be able
                  to?




                  Thanks,

                  Cariese
                     i    SSiler
                             l
                  Foreclosure Referral and
                  Commencements Holds
                  Mail stop SV-09
                  856-917-8117

               From: Boskett, Melvin (MBS)                                                QWA002622
               Sent: Thursday,
Case 20-04002-MJH     Doc 73-15September
                                    Filed19, 2019 1:50 PM
                                          11/13/20     Ent. 11/13/20 21:51:27           Pg. 12 of 29
               To: DLD HAMP <DLDHAMP@mortgagefamily.com>
Case 20-04002-MJH   Doc 73-15   Filed 11/13/20   Ent. 11/13/20 21:51:27   Pg. 13 of 29
                other privilege. It is confidential in nature and intended for use
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                situation, you should contact an attorney directly.

                From: Michael Lappano <mlappano@invitationhomes.com>
                Sent: Monday, December 16, 2019 12:58 PM
                To: Robert McDonald <rmcdonald@qualityloan.com>
                Cc: IDSFC <IDSFC@qualityloan.com>
                Subject: RE: SULEIMAN | RE: TS# WA-18-835092-SW

                Understood, thanks,



                Michael Lappano
                Regional Director of Acquisitions


                office 206.428.2886
                cell 206.390.5955
                mlappano@invitationhomes.com

                ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
                •••••••••••••••••••••••••

                15900 SE Eastgate Way, Suite 150, Bellevue WA 98008
                  invitationhomes.com

                ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
                •••••••••••••••••••••••••


               From: Robert McDonald <rmcdonald@qualityloan.com>
               Sent: Monday, December 16, 2019 12:50 PM
               To: Michael Lappano <mlappano@invitationhomes.com>                      QWA002744
               Cc: IDSFC
Case 20-04002-MJH     Doc<IDSFC@qualityloan.com>
                           73-15 Filed 11/13/20 Ent. 11/13/20 21:51:27               Pg. 14 of 29
               Subject: RE: SULEIMAN | RE: TS# WA-18-835092-SW
                 Michael

                 I would recommend reaching out to John McIntosh
                 with Schweet Linde & Coulson if you need
                 representation. I say this as Mr. Olsen will likely have
                 a conflict due to his client PHH also being involved in
                 this action. If Mr. McIntosh is not able to assist he
                 should be able to also provide you some
                 recommendations for counsel. Thank you.

                 John A. McIntosh, Attorney
                 Schweet Linde & Coulson, PLLC
                 575 S. Michigan Street
                 Seattle, Washington 98108
                 Direct dial: (206) 381-0118
                 Fax: (206) 381-0101
                 johnm@schweetlaw.com



                 Robert W. McDonald | General Counsel
                 "Excellence Starts Here"

                 108 1st Avenue South, Suite 202
                 Seattle, WA 98104
                 d. 206.596.4862 | f. 206.274.4902 | c. 206.673.6523
                 rmcdonald@qualityloan.com

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                 and/or concerns to QLSFeedback@qualityloan.com.

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Case 20-04002-MJH Doc 73-15 Filed 11/13/20 Ent. 11/13/20 21:51:27                     Pg. 15 of 29
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               intended as general information only, and are not
               intended to serve as legal advice or as a substitute for legal
               counsel. If you have a question about a specific factual
               situation, you should contact an attorney directly.

               From: Michael Lappano <mlappano@invitationhomes.com>
               Sent: Monday, December 16, 2019 12:45 PM
               To: Robert McDonald <rmcdonald@qualityloan.com>
               Subject: RE: SULEIMAN | RE: TS# WA-18-835092-SW

               Just an FYI…I have spoken again to my counsel and we have
               agreed to reach out to Lance Olsen to represent us and see if we
               can push this one thru,



               Michael Lappano
               Regional Director of Acquisitions


               office 206.428.2886
               cell 206.390.5955
               mlappano@invitationhomes.com

               ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
               •••••••••••••••••••••••••

               15900 SE Eastgate Way, Suite 150, Bellevue WA 98008
                 invitationhomes.com

               ••••••••••••••••••••••••••••••••••••••••••••••••••••••••••
               •••••••••••••••••••••••••


               From: Robert McDonald <rmcdonald@qualityloan.com>
               Sent: Friday, December 13, 2019 10:18 AM
               To: Michael Lappano <mlappano@invitationhomes.com>
               Cc: IDSFC <IDSFC@qualityloan.com>; Sierra West
               <Swest@qualityloan.com>
               Subject: RE: SULEIMAN | RE: TS# WA-18-835092-SW

               Michael

               See attached from counsel for Ms. Hoover. Please
               forward this to your attorney. It is strongly
               recommended to pursue relief in bankruptcy court
               to avoid future litigation.

               Robert W. McDonald | General Counsel
               "Excellence Starts Here"

               108 1st Avenue South, Suite 202
               Seattle, WA 98104
               d. 206.596.4862 | f. 206.274.4902 | c. 206.673.6523
               rmcdonald@qualityloan.com                                            QWA002746

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              counsel. If you have a question about a specific factual
              situation, you should contact an attorney directly.

              From: Michael Lappano <mlappano@invitationhomes.com>
              Sent: Friday, December 13, 2019 8:27 AM
              To: Robert McDonald <rmcdonald@qualityloan.com>
              Cc: IDSFC <IDSFC@qualityloan.com>; Sierra West
              <Swest@qualityloan.com>
              Subject: Re: SULEIMAN | RE: TS# WA-18-835092-SW

              Sorry for the delay....at this time we are going to wait to see how
              things proceed.



              Michael Lappano
              Regional Director of Acquisitions
              Seattle

              Invitation Homes
              15900 SE Eastgate Way, Suite 150
              Bellevue WA 98008


              d 206-428-2886
              m 206-390-5955
                                                                                      QWA002747
              e mlappano@invitationhomes.com
Case 20-04002-MJH   Doc 73-15       Filed 11/13/20      Ent. 11/13/20 21:51:27      Pg. 17 of 29
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              destroyed, arrive late or incomplete, or contain viruses.
              Therefore no liability is accepted by Invitation Homes LLC for any
              errors or omissions in the contents of this message which arise as
              a result of e-mail transmission. This e-mail has been scanned for
              all known viruses by Intermedia.


                    On Dec 12, 2019, at 3:01 PM, Robert McDonald
                    <rmcdonald@qualityloan.com> wrote:

                    ?
                    Mike

                    Any update from your General Counsel re
                    opening the Hoover BK and proceeding
                    with a motion to annual any potential stay
                    and validate the sale held? Please advise.
                    Thank you.

                    Robert W. McDonald | General Counsel
                    <image001.jpg>
                    "Excellence Starts Here"

                    108 1st Avenue South, Suite 202
                    Seattle, WA 98104
                    d. 206.596.4862 | f. 206.274.4902 | c.
                    206.673.6523
                    rmcdonald@qualityloan.com

                    Your feedback is warmly welcomed and greatly
                    appreciated! Please feel free to send us your
                    suggestions, comments, and/or concerns to
                    QLSFeedback@qualityloan.com.

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                                                                                     QWA002748

Case 20-04002-MJH   LEGAL
                    Doc   DISCLAIMER:
                        73-15          Please be advised
                                Filed 11/13/20           that 21:51:27
                                                 Ent. 11/13/20                     Pg. 18 of 29
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                    specific factual situation, you should contact
                    an attorney directly.

                    From: Robert McDonald
                    Sent: Wednesday, December 11, 2019 5:04 PM
                    To: 'Michael Lappano'
                    <mlappano@invitationhomes.com>
                    Cc: IDSFC <IDSFC@qualityloan.com>; Sierra West
                    <Swest@qualityloan.com>
                    Subject: RE: SULEIMAN | RE: TS# WA-18-835092-SW

                    Mike

                    Any update from your General Counsel re
                    opening the Hoover BK and proceeding
                    with a motion to annual any potential stay
                    and validate the sale held? Please advise.
                    Thank you.

                    Robert W. McDonald | General Counsel
                    <image001.jpg>
                    "Excellence Starts Here"

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                    Seattle, WA 98104
                    d. 206.596.4862 | f. 206.274.4902 | c.
                    206.673.6523
                    rmcdonald@qualityloan.com

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                                                     Ent. 11/13/20             Pg. 19 of 29
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                    to serve as legal advice or as a substitute for
                    legal counsel. If you have a question about a
                    specific factual situation, you should contact
                    an attorney directly.

                    From: Robert McDonald
                    Sent: Tuesday, December 10, 2019 5:05 PM
                    To: 'Michael Lappano'
                    <mlappano@invitationhomes.com>
                    Cc: IDSFC <IDSFC@qualityloan.com>
                    Subject: RE: SULEIMAN | RE: TS# WA-18-835092-SW

                    Mike

                    Any update from your General Counsel re
                    opening the Hoover BK and proceeding
                    with a motion to annual any potential stay
                    and validate the sale held? Please advise.
                    Thank you.

                    Robert W. McDonald | General Counsel
                    <image001.jpg>
                    "Excellence Starts Here"

                    108 1st Avenue South, Suite 202
                    Seattle, WA 98104
                    d. 206.596.4862 | f. 206.274.4902 | c.
                    206.673.6523
                    rmcdonald@qualityloan.com

                    Your feedback is warmly welcomed and greatly               QWA002750

Case 20-04002-MJH   appreciated!
                    Doc  73-15 Please  feel free to send
                                 Filed 11/13/20      Ent. us your 21:51:27
                                                          11/13/20           Pg. 20 of 29
                    suggestions, comments, and/or concerns to
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                    legal counsel. If you have a question about a
                    specific factual situation, you should contact
                    an attorney directly.

                    From: Robert McDonald
                    Sent: Wednesday, December 4, 2019 5:05 PM
                    To: 'Michael Lappano'
                    <mlappano@invitationhomes.com>
                    Cc: IDSFC <IDSFC@qualityloan.com>
                    Subject: RE: SULEIMAN | RE: TS# WA-18-835092-SW

                    Thank you for the update.

                    Robert W. McDonald | General Counsel
                    <image001.jpg>
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                    Seattle, WA 98104
                    d. 206.596.4862 | f. 206.274.4902 | c.
                    206.673.6523                                             QWA002751
                    rmcdonald@qualityloan.com
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                    From: Michael Lappano
                    <mlappano@invitationhomes.com>
                    Sent: Wednesday, December 4, 2019 5:04 PM
                    To: Robert McDonald <rmcdonald@qualityloan.com>
                    Cc: IDSFC <IDSFC@qualityloan.com>
                    Subject: RE: SULEIMAN | RE: TS# WA-18-835092-SW

                    Sorry been in the field today… I hope to talk top her
                    tomorrow.



                    Michael Lappano
                    Regional Director of Acquisitions

                    <image002.png>                                                QWA002752

Case 20-04002-MJH   Doc 73-15      Filed 11/13/20      Ent. 11/13/20 21:51:27   Pg. 22 of 29
                    office 206.428.2886
                    cell 206.390.5955
                    mlappano@invitationhomes.com

                    •••••••••••••••••••••••••••••••••••••••••••••••
                    ••••••••••••••••••••••••••••••••••••

                    15900 SE Eastgate Way, Suite 150, Bellevue WA
                    98008        invitationhomes.com

                    •••••••••••••••••••••••••••••••••••••••••••••••
                    ••••••••••••••••••••••••••••••••••••


                    From: Robert McDonald
                    <rmcdonald@qualityloan.com>
                    Sent: Wednesday, December 4, 2019 11:24 AM
                    To: Michael Lappano
                    <mlappano@invitationhomes.com>
                    Cc: IDSFC <IDSFC@qualityloan.com>
                    Subject: RE: SULEIMAN | RE: TS# WA-18-835092-SW

                    Mike

                    Any update from your General Counsel re
                    opening the Hoover BK and proceeding
                    with a motion to annual any potential stay
                    and validate the sale held?

                    Robert W. McDonald | General Counsel
                    <image001.jpg>
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                    Seattle, WA 98104
                    d. 206.596.4862 | f. 206.274.4902 | c.
                    206.673.6523
                    rmcdonald@qualityloan.com

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                    Doc   73-15Federal
                                   Filedlaw  requires us
                                          11/13/20       to advise
                                                       Ent.        you21:51:27
                                                            11/13/20             Pg. 23 of 29
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                 View As:          j Plain Text
                                   l
                                   m                        i Web Page
                                                            j
                                                            l
                                                            m

                 Received:        1/6/2020 4:13:34 PM
                 From:            Robert McDonald
                                  <rmcdonald@qualityloan.com>
                 To:              Sierra West IDSFC
                 CC:              Jeffrey Stenman Kristen Oswood
                 Subject:         *ACTION NEEDED* SULEIMAN | RE: TS# WA-
                                  18-835092-SW
                 Attachments:


                       No documents have been generated for this file yet.

                 Sierra

                 Please have the team check imaging for any notices
                 PHH/Ocwen sent to the third party responding to
                 their disputes. Also please have the borrower
                 communication issue raised in LPS and state that
                 PHH needs to provide a formal response to the date
                 they were first notified that Ms. Hoover (1) claimed
                 an interest in the property and (2) provided notice to
                 PHH that she filed a BK. Thank you.

                 Robert W. McDonald | General Counsel
                 "Excellence Starts Here"

                 108 1st Avenue South, Suite 202
                 Seattle, WA 98104
                 d. 206.596.4862 | f. 206.274.4902 | c. 206.673.6523
                 rmcdonald@qualityloan.com

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                 Please feel free to send us your suggestions, comments,
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               employed  73-15   Filed
                            Quality    11/13/20
                                    Loan           Ent.of
                                         Service Corp.  11/13/20 21:51:27
                                                          Washington,                 Pg. 25 of 29
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              situation, you should contact an attorney directly.

              From: Quick, Andrea S <Andrea.Quick@mortgagefamily.com>
              Sent: Monday, January 6, 2020 7:32 AM
              To: Robert McDonald <rmcdonald@qualityloan.com>
              Cc: IDSFC <IDSFC@qualityloan.com>; Sierra West
              <Swest@qualityloan.com>; Jeffrey Stenman
              <jstenman@qualityloan.com>
              Subject: RE: *REPLY NEEDED* SULEIMAN | RE: TS# WA-18-835092-
              SW

              A third party called in multiple times stating they are the heir.
              The proof that was provided was not sufficient since the
              document was not executed. On 9/16 our Bky team confirmed
              that a bky module would not be opened since there was no proof
              that the heir was linked to the property. Please check imaging for
              any notices we sent to the third party responding to their
              disputes. Also have the borrower communication issue raised in
              LPS and state if we need to provide a formal response.

              Once you've pulled the letters from imaging let me know if you
              need additional information.


              Andrea Quick
              Manager, Attorney Management | Default Servicing
              PHH Mortgage
              1 Mortgage Way
              Mt. Laurel, NJ 08054
              T: 215-734-4917
              andrea.quick@ocwen.com


              PHH Mortgage, a subsidiary of Ocwen Financial Corporation


              From: Robert McDonald <rmcdonald@qualityloan.com>
              Sent: Sunday, January 5, 2020 10:10 AM
              To: Quick, Andrea S <Andrea.Quick@mortgagefamily.com>
              Cc: IDSFC <IDSFC@qualityloan.com>; Sierra West
              <Swest@qualityloan.com>; Jeffrey Stenman
              <jstenman@qualityloan.com>
              Subject: *REPLY NEEDED* SULEIMAN | RE: TS# WA-18-835092-SW

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                         5107                                                               QWA003024

Case 20-04002-MJH     Doc 73-15          Filed 11/13/20          Ent. 11/13/20 21:51:27   Pg. 26 of 29
              Andrea
Case 20-04002-MJH   Doc 73-15   Filed 11/13/20   Ent. 11/13/20 21:51:27   Pg. 27 of 29
Case 20-04002-MJH   Doc 73-15   Filed 11/13/20   Ent. 11/13/20 21:51:27   Pg. 28 of 29
                be made to retrieve the originals from you at no charge.
                Federal law requires us to advise you that communication with
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                counsel. If you have a question about a specific factual
                situation, you should contact an attorney directly.

                From: Isabel Barreras <ibarreras@McCarthyHolthus.com>
                Sent: Monday, January 6, 2020 9:25 AM
                To: Sierra West <Swest@qualityloan.com>; Robert McDonald
                <rmcdonald@qualityloan.com>; Jeffrey Stenman
                <jstenman@qualityloan.com>; IDSFC <IDSFC@qualityloan.com>
                Cc: Dave Owen <dowen@Mccarthyholthus.com>; Mike Dye
                <MDye@idsolutions-inc.com>; John Lopez <jlopez@idsolutions-
                inc.com>
                Subject: RE: SULEIMAN | RE: TS# WA-18-835092-SW

                Good Morning Team,

                Robert you requested confirmation for Susan's SSN. I noticed a
                discrepancy on what was showing in IDS and went ahead and
                updated it to show the correct and validated social.

                Thanks


                Isabel
                 sa e BBarreras
                         r e ra s | Production Support
                McCarthy ? Holthus, LLP
                m. 411 Ivy St., San Diego, CA 92101
                d. 619.685-4800| ext 3449
                e. ibarreras@mccarthyholthus.com
                w. http://www.mccarthyholthus.com
                “Service Second to None”
                Offices in: AR | AZ | CA | CO | ID | NV | NM | OR | TX | WA
                *Not licensed to practice law. Should escalation be required, please
                contact: Janeth Romero at jsalas@mccarthyholthus.com
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                                                                                                                                              QWA003100

               From: Sierra
Case 20-04002-MJH           West
                     Doc 73-15                          Filed 11/13/20                      Ent. 11/13/20 21:51:27                          Pg. 29 of 29
